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                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF HAWAII

  ANDREW TETER and JAMES               ) Civil No. 1:19-cv-00183 ACK-WRP
  GRELL                                )
                                       )
         Plaintiffs,                   )
                                       ) MEMORANDUM IN OPPOSITION TO
  v.                                   ) DEFENDANTS’ MOTION FOR
                                       ) SUMMARY JUDGMENT
  CLARE E. CONNORS, in her             )
  Official Capacity as the Attorney    )
  General of the State of Hawaii and AL)
  CUMMINGS in his Official Capacity )         HEARING: April 28, 2020 11AM
  as the State Sheriff Division        )      TRIAL: June 16, 2020 9AM
  Administrator                        )      JUDGE: Hon. Alan C. Kay
                                       )
         Defendants.                   )
  _______________________________)
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        PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS’
                    MOTION FOR SUMMARY JUDGMENT


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                                    I.     Introduction

        Defendants’ Motion for Summary Judgment should be denied. Based on the

  both Plaintiffs’ and Defendants’ evidence, butterfly knives are typically owned for

  the lawful purposes of martial arts training and self-defense. While Plaintiffs do not

  concede that switchblades have any special propensity for criminality, Defendants’

  attempt to analogize to them is inapplicable.           As Defendants’ own exhibits

  demonstrate, butterfly knives are arms typically used for the lawful purposes of self-

  defense and martial arts training.       As such they receive Second Amendment

  protection. As a preliminary matter, Defendants make no argument that their ban

  survives strict scrutiny and thus concede that if this Court applies strict scrutiny the

  ban is unconstitutional. And even if this Court uses intermediate scrutiny as shown

  below, Hawaii’s complete ban is unconstitutional.

                                     II.    Argument

     a. Knives Are the Most Common Arm

        Relying on State v Murillo, 347 P.3d 284 (2015), Defendants argue that

  “butterfly knives are not a ‘quintessential self-defense weapon’ for defense in the

  home, like handguns”. Defendants’ MSJ at 12. This is extrapolated from Murillo’s

  holding (which Defendants quote) that knives are a “peripheral set of arms”. This is

  patently false. “[K]nives have played an important role in American life, both as

  tools and as weapons. The folding pocketknife, in particular, since the early 18th


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  century has been commonly carried by men in America and used primarily for work,

  but also for fighting.” State v. Delgado, 692 P.2d 610 (Or. 1984). The federal Militia

  Act of 1792 required all able-bodied free white men between 18 and 45 to possess,

  among other items, “a sufficient bayonet….”.1 This establishes that knives were in

  common use and arms used for militia purposes during the founding of our nation.

  In fact, knives are the “most common ‘arm’ in the United States”. See David B.

  Kopel, Clayton E. Cramer & Joseph Edward Olsen, Knives and the Second

  Amendment, 47 U. Mich. J.L. Reform 167, 183 (Fall 2013). “Only about half of U.S.

  households possess a firearm, and many of those households have only one or two

  firearms. In contrast, almost every household possesses at least several knives.” Id.

       b. Defendants’ Evidence Is Inapplicable

           As a preliminary matter, Plaintiffs disagree with Defendants’ argument that

  certain types of knives can be outside of constitutional protection assuming knives

  are as a whole are protected.2 Heller found that handguns, as a class, are

  constitutionally protected arms. After that, the Supreme Court did not delve into

  whether the particular handgun Dick Heller possessed was constitutionally



  1
      Militia Act, 1 STAT. 271-04 (1792).
  2
   Plaintiffs did not include a citation to People v. Walker, 2019 Ill. LEXIS 329, 2019
  WL 1307950 in their moving papers. The court in Walker struck Illinois’s ban on
  taser ownership and carry by applying a categorical approach and supports the use
  of a categorical approach it this case.

                                            2
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  protected.3 Similarly, Heller used knives as an example of an arm. See Heller, 554

  U.S. at 590 (emphasis added) (“In such circumstances the temptation [facing Quaker

  frontiersmen] to seize a hunting rifle or knife in self-defense... must sometimes have

  been almost overwhelming.”). Butterfly knives as well as all other types of knives

  must receive constitutional protection. This is supported by the fact that Defendants

  cannot identity a single case that agrees with their position, and as listed in Plaintiffs

  moving papers, a bevy of Courts have found otherwise.4

        Defendants claim that the Philippines outlawed the butterfly knife for similar

  reasons “it was outlawed in Hawaii in 1999.” Defendants’ MSJ at 4. And then the

  Defendants quote a Wikipedia article for the proposition that it is “generally illegal

  to carry [a butterfly knife] without identification or a proper permit in the streets of

  [Manila]…” Id. Thus, per Defendants’ authority, butterfly knives are legal to

  possess in the Philippines and the only restrictions are on carry outside the home.

  Even if Filipino law had any relevance to U.S. constitutional law, this is a strange



  3
    The handgun Dick Heller wished to register was a High Standard 9-shot revolver
  in       .22       with     a       9.5"      Buntline-style      barrel.     See
  https://www.hoffmang.com/firearms/dc-roster/msj-2009-04-
  13/SJ_SEPERATE_STATEMENT.pdf at *7 (last visited 1/17/2020) and App. to
  Pet. for Cert. U.S. Supreme Ct. 07-290 at 119a. This is not a common handgun.
  4
   Defendants cite to English v. State, 35 Tex. 473, 14 Am. Rep. 374 (1872). However,
  this case embraced a militia centric view that was directly rejected in Heller in lieu
  of a right to personal self-defense.

                                              3
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  argument because in Hawaii, the butterfly knife is completely banned, and no

  identification document or permit would allow carry in the streets or even mere

  possession in the home.

       Defendants fail to demonstrate with any competent summary judgment evidence

  that there are any genuine issues of material fact which would render summary

  judgment inappropriate for the Plaintiffs and further, Defendants’ arguments are

  unsupported by current caselaw. As such, summary judgment should be granted for

  the Plaintiffs and Defendants’ motion denied.

       c. The Laws of the Kingdom of Hawaii Are Inapplicable

          Defendants’ reliance on laws from the Kingdom of Hawaii completely lack

  merit. As a preliminary matter, the cited to law only deals with carrying weapons

  outside the home so it has no applicability to Plaintiffs’ challenge to possession in

  the home.5 Moreover, these laws are the relic of a monarchical regime that has no

  relevance in analyzing our system of constitutional law.

          Even after transitioning to a constitutional monarchy, the Kingdom of Hawaii

  Constitution of 1842 did not recognize a right of the people to bear arms.6 Quite to




  5
    The same applies to the cited to laws on carrying butterfly knives from the
  Philippines. And the laws of a foreign nation are even less applicable to the
  Plaintiffs’ challenge.
  6
      See http://www.hawaii-nation.org/constitution-1840.html. (last visited 1/16/2020)

                                             4
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  the contrary, it declared unequivocally that the “four Governors over these Hawaiian

  Islands ... shall have charge of ... the arms and all the implements of war.” Kingdom

  of Hawaii Constitution of 1840, “Governors.” Consistent with an exclusive claim to

  arms, the 1840 Constitution declared that the king “is the sovereign of all the people

  and all the chiefs.” Id., “Prerogatives of the King.”. Indeed, traders and settlers

  selectively doled out firearms in order to “unite[] Hawaii’s eight main islands into a

  single kingdom [under] Kamehameha I....”.7 Thereafter, native Hawaiians continued

  to be disarmed, as more and more settlers arrived, with generally only the European-

  installed government (and select Caucasian inhabitants) being permitted to possess

  arms.8 The monopoly on arms was later used to solidify American control over the

  Hawaiian Islands through the “Bayonet Constitution” of 1887.9



  7
    J. Greenspan, “Hawaii’s Monarchy Overthrown with U.S. Support, 120
  Years Ago,” https://www.history.com/news/hawaiis-monarchy-overthrown-with-u-
  s-support-120-years-ago (Jan. 17, 2013). (last visited (1/16/2020)
  8
   Odd Fighting Units: The Honolulu Rifles during the
  Hawaii Rebellions, 1887-1895,” Warfare History Blog (Aug. 13, 2012)
  http://warfarehistorian.blogspot.com/2012/08/odd-fighting-units-of-world-
  history.html (last visited 1/16/2020)
  9
    “1887: Bayonet Constitution,” National Geographic (“The new
  constitution was written by a group of white businessmen and lawyers who wanted
  the kingdom to be part of the United States. This group, called the Hawaiian
  League, was supported by an armed militia called the Honolulu Rifles.”)
  https://www.nationalgeographic.org/thisday/jul6/bayonet-constitution/ (last visited
  1/16/2020)

                                            5
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        This is hardly a noble pedigree to apply when determining the right of a

  sovereign people to keep and bear arms. See District of Columbia v. Heller, 554 U.S.

  570, 598 (2008). Rather, Hawaii’s monarchial history undermines its claims, making

  it an extreme outlier among the states — embracing a view of its rulers and people

  that was utterly rejected by our Declaration of Independence and the Constitution of

  1787. It was not until 1898 that the United States annexed Hawaii as a territory. It

  was not until 1950 that the current state constitution was adopted (including

  language mirroring the Second Amendment).10 And it was not until 1959 that Hawaii

  was granted statehood. In short, Hawaii’s history on weapons regulation is utterly

  irrelevant here. Rather than being embraced as “longstanding”11 and/or

  “presumptively lawful,” Hawaii’s antiquated weapons regulatory scheme should be

  rejected out of hand — a relic of history, not unlike the sovereign prerogatives of

  King George, against which this country’s Second Amendment was designed to

  protect. This Court should decline the government of Hawaii’s invitation to embrace

  its history of disarmament.



  10
    See HRS Const. Art. I, § 17; see also State v. Mendoza, 920 P.2d 357, 362 (Ha.
  1996).
  11
     In a passing reference, Defendants seem to argue that because Hawaii regulated
  “bladed weapons” in 1852, a law that was enacted in 1999 is somehow granted
  longstanding status. See Defendants’ MSJ at 10-11. This argument is logically
  incorrect as a law cannot possibly be considered “longstanding” when the ban struck
  in Heller was enacted in the 1970s.
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     d. Butterfly Knives Are Not Dangerous and Unusual

        Based upon this Circuit’s precedent, this Court should not find that butterfly

  knives are dangerous and unusual weapons. In the Ninth Circuit, whether an arm is

  dangerous is determined through its capacity to inflict harm on others. See United

  States v. Henry, 688 F.3d 637, 640, 2012 U.S. App. LEXIS 16615, *6-7, 2012 WL

  3217255 (“a modern machine gun can fire more than 1,000 rounds per minute,

  allowing a shooter to kill dozens of people within a matter of seconds. See George

  C. Wilson, Visible Violence, 12 NAT’L J. 886, 887 (2003). Short of bombs,

  missiles, and biochemical agents, we can conceive of few weapons that are more

  dangerous than machine guns”). We know based on Heller that a handgun is not

  lethal enough to be dangerous within the context of the Second Amendment. And

  Defendants have already admitted that knives are less deadly than handguns. See

  Deposition of Robin Nagamine, Docket No. 34-6, Tr. at 27:19-21. Defendants’

  witness agreeing that a “knife is less dangerous than a handgun”. Even firearm

  magazines that hold over 10 rounds that allow for sustained fire are not too

  dangerous as to be outside of constitutional protection. See Fyock v. City of

  Sunnyvale, 779 F.3d 991, 2015 U.S. App. LEXIS 3471. And as established below

  by Defendants’ own exhibits, butterfly knives are commonly possessed for lawful

  purposes and are thus not unusual arms. For these reasons, the State’s dangerous

  and unusual argument must be rejected.


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       e. Butterfly Knives Are Not Like Switchblades

          Assuming without conceding the State’s propositions about switchblades are

  correct, these propositions cannot be analogized to butterfly knives.12        First,

  Defendants argue that both are “concealable” because their blade can fit into its

  handle than and that they can be “deployed quickly”. Defendants’ MSJ at 9. These

  arguments are spurious. A butterfly knife is no more concealable than a standard

  pocketknife. And any folding knife, such as a Swiss Army Knife’s blade, also fits

  into its handle. Perhaps trying to rebut Plaintiffs’ Expert, Defendants state that a




  12
      In fact, switchblades are arms designed and used for lawful purposes. The belief
  that they are used for criminal purposes is a product of Hollywood, much like the
  nunchaku bans after Bruce Lee used them in movies. “Automatic knives were first
  produced in the 1700s. The earliest automatic knives were custom made for wealthy
  customers. By the mid-19th century, factory production of automatic knives made
  them affordable to ordinary consumers. During World War II, American
  paratroopers were issued switchblade knives, “in case they become injured during a
  jump and needed to extricate themselves from their parachutes.” The switchblade
  enabled them to cut themselves loose with only one hand. In the 1950s, there was
  great public concern about juvenile delinquency. This concern was exacerbated by
  popular motion pictures of the day--such as Rebel Without a Cause (1955), Crime
  in the Streets (1956), 12 Angry Men (1957), and The Delinquents (1957)--as well as
  the very popular Broadway musical West Side Story. These stories included violent
  scenes featuring the use of automatic knives by the fictional delinquents. Partly
  because of Hollywood’s sensationalism, the switchblade was associated in the public
  mind with the juvenile delinquent, who would “flick” the knife open at the
  commencement of a rumble with a rival gang, or some other criminal activity. This
  is an important part the origin of the many statutes imposing special restrictions on
  switchblades.” See David B. Kopel, Clayton E. Cramer & Joseph Edward Olsen,
  Knives and the Second Amendment, 47 U. Mich. J.L. Reform 167 (Fall 2013) *16.

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  “butterfly knife can be opened and ready for use very quickly” and cite to six

  YouTube videos.13 Defendants’ MSJ at 5.

           Notwithstanding not being provided this information beforehand, these videos

  do nothing to rebut Plaintiffs’ Expert Witness who, from a concealed position with

  his hands off the butterfly knife, performed a test to demonstrate the butterfly knife’s

  opening speed from concealment. All videos in Defendants’ MSJ appear to have the

  user start with the hand already on the butterfly knife and only one video purports to

  show the user draw from concealment.14 But even this video does not offer a

  persuasive rebuttal to Plaintiffs’ Expert because the user again has his hand on the

  butterfly knife in his pocket before he draws and opens the butterfly knife. And in

  any event, Plaintiffs’ Expert video demonstrated that a standard folding pocketknife

  opens faster than a butterfly knife.

           Accepting Defendants’ position would lead to the absurd result of all folding

  knives (and most small fixed knives) being constitutionally unprotected. That

  cannot be when Heller found handguns to be protected.             Handguns are both

  concealable in the pocket and are much more dangerous than any type of knife.

  Furthermore, even assuming some gang members were found with butterfly knives



  13
    These videos made their first appearance in Defendants’ Motion for Summary
  Judgment and had not been produced in discovery beforehand, nor have Defendants
  designated any expert to rebut Plaintiffs’ expert testimony and video.
  14
       That video is titled “Balisong Fast Opening for Fighting”.
                                              9
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  at the time of their prohibition in 1999, that does not follow that butterfly knives’

  typical use is for unlawful purposes. As the Second Circuit has stated, Heller holds

  there is a presumption that arms are constitutionally protected, and the burden is on

  the government to rebut that presumption. “Heller emphasizes that ‘the Second

  Amendment extends, prima facie, to all instruments that constitute bearable arms.’

  Heller, 554 U.S. at 582. In other words, it identifies a presumption in favor of Second

  Amendment protection, which the State bears the initial burden of rebutting.” See

  New York State Rifle & Pistol Ass'n v. Cuomo, 804 F.3d 242, 257, 2015 U.S. App.

  LEXIS 18121, *29.

        Citation to an unsubstantiated legislative comment is insufficient to rebut this

  presumption especially in like of the fact Plaintiffs have submitted expert evidence

  that butterfly knives are typically used for lawful purposes and open slower than

  both a common folding knife and a switchblade. Butterfly knives are legal to own

  in forty-seven (47) states and case law supports they are constitutionally protected.

        Defendants’ very own submissions rebut their arguments that butterfly knives

  are used for unlawful purposes:

        The Balisong knife is without a doubt one of the most popular knives
        today... The modern balisong knife has plenty of uses unlike the ancient
        ones. Today, it is one of the knives with massive fanbase. It has been
        transformed into a multipurpose knife. Because its blade can be
        concealed inside the two handles, it has become the easiest to carry
        knife. So, people prefer carrying it in the pocket as their primary self
        defense weapon. It works brilliantly as the defense weapon. Since it is
        quick, the blade can be deployed at once. Hence, the user has every

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        chance to survive against the attacker. The safety of carrying this knife
        is another factor that has made this knife popular. The blade is
        concealed and locked inside the two handles. There is no chance that
        blade accidentally opens in your pocket. Therefore, you can
        comfortably carry the knife. The modern butterfly knife is lightweight
        and small, but is sturdy enough.

  See Defendants Motion for Summary Judgment Exhibit F. And then from the

  legislative history:

        However, butterfly knives or "Balisong" are an integral part of the
        filipino martial art called Escrima. Like Karate, Aikido, or TKacw on
        Do, Escrima is a martial art that developed and arose out of the
        country's unique culture. In the case of the Philippines, the blade arts
        became an essential part of Escrima specifically because the average
        filipino man needed to carry a knife for hunting, harvesting and general
        self-defense. Similarly, Indonesia also has a strong tradition of "blade
        arts." Escrima and Balisong practice were endemic through-out the
        Philippine Islands even before colonization first by the Spanish, and
        later by the U.S. Escrima schools here in Hawaii teach Balisong as a
        legitimate martial art.
  See SOH 00021 Testimony of Ronette M. Kawakami Deputy Public Defender, on

  behalf of the Office of the Public Defender, State of Hawai'I to the Senate Committee

  on Judiciary. Further legislative history states:

        Over the past 30 years our school has trained hundreds of people from
        all walks of life in the weapons-based Filipino Martial Arts that include
        the Balisong. The Balisong-butterfly knife developed in the Philippines
        in the 1940's has earned a reputation as a weapon of mystique, but in
        it's simplest form it is nothing more than any other knife in that it has a
        point and a cuing edge. I ask that you reconsider, and withdraw the
        Balisong-butterfly knife as a prohibited weapon and allow those of us
        honest citizens to continue to use this weapon as a cultural tool as it
        should be. I have a copy of SB 606 and see that HB1496 is patterned
        after SB 606.


                                            11
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        In SB606 the outcome was that the Balisong owner was in violation of
        the law by having in his or her possession a butterfly knife. I ask that
        you consider not taking the easy way out by merely following HB1496.
        Instead I hope that you will take the time to research and find a way for
        those of us to use the Butterfly knife as a cultural instrument can
        continue to do so. We advocate that stiff penalties should be in effect
        for those individuals that use these or any other weapon in violent
        crime, but let us not destroy cultural traditions enjoyed by many
        because of the actions of a few. Make the criminals pay, not the citizens.
        Mahalo for your time.
  See SOH 00026 Testimony of Ron England Sr. Chief instr. Pedoy School of

  Escrima.

        And analogous to the California Supreme Court’s holding that finding a

  pocket knife could be a dirk “would in effect make nearly every folding knife a

  locking knife, thereby rendering the category of nonlocking folding knives

  essentially a null set” and defeat legislative intent, adopting Defendants’ position

  would make Heller’s finding that arms in common use are constitutionally protected

  similarly hollow. People v. Castillolopez, 63 Cal. 4th 322, 332, 371 P.3d 216, 221,

  202 Cal. Rptr. 3d 703, 710, 2016 Cal. LEXIS 3754, *17.

     f. Lacy is Inapplicable to Plaintiffs’ Challenge

        Lacy v. State, 903 N.E.2d 486, 2009 Ind. App. LEXIS 526 has no bearing on

  Plaintiffs’ challenge. Lacy was an as-applied challenge to a criminal possession of a

  switchblade outside the home under the Indiana Constitution. “…we pass over

  Lacy's contention that Ind. Code § 35-47-5-2 is unconstitutional on its face and turn




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  instead to whether its application in this case was unconstitutional”. Id. At 489.

  Further, it relied on a faulty premise:

        Lacy quotes Crowley Cutlery Co. v. U.S. (7th Cir. 1988) to refute the
        Oregon Supreme Court’s position in Delgado that switchblade knives
        are not intrinsically different from other knives. Crowley argued that
        switchblade knives “are more dangerous than regular knives because
        they are more readily concealable and hence more suitable for criminal
        use.” It requires no expert testimony to demonstrate that this claim is
        incorrect. A switchblade knife’s handle, when closed, must be at least
        as long as the blade. In this respect, it is no different from any folding
        knife, where the enclosure must be slightly longer than the blade. No
        switchblade knife can be any more concealable than its non-automatic
        counterpart.
  D. Kopel, Clayton E. Cramer & Joseph Edward Olsen, Knives and the Second

  Amendment, 47 U. Mich. J.L. Reform 167, 183 (Fall 2013).

        Furthermore, butterfly knives are an entirely different type of knife with a

  different history. And unlike Plaintiffs who challenge Hawaii’s in the home

  possession ban on butterfly knives, Lacy was caught outside the home with a

  switchblade:

        The relevant facts follow. On September 11, 2004, Indiana
        Conservation Officer James Schreck noticed three people driving all
        terrain vehicles without registration decals Officer Schreck attempted
        to stop the people, but they fled on the vehicles. Officer Schreck
        patrolled the area and found an all terrain vehicle off the road in the
        woods. Officer Schreck eventually located Lacy lying down in the
        grass. Officer Schreck arrested Lacy and patted her down. Officer
        Schreck discovered a pocketknife and a four-inch long switchblade on
        Lacy.
  Id. at 488.



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        Thus, an in the home as-applied challenge to Indiana’s ban on switchblade

  might very well be successful under the Indiana Constitution. Moreover, the Indiana

  Constitution has a completely different standard of review than the Second

  Amendment challenge brought by Plaintiffs. Under the Indiana Constitution,

  “Courts defer to legislative decisions out when to exercise the police power and

  typically require only that they be rational”. Id at 490. As briefed in Plaintiffs’

  moving papers, Heller requires a higher level of scrutiny when evaluating Second

  Amendment challenges. For all these reasons, Lacy has no relevance to the instant

  matter.

    g. Fyock Allows for the Application of Strict Scrutiny

        Amicus Everytown for Gun Safety argues that Circuit precedent requires

  intermediate scrutiny in this matter. Everytown for Gun Safety Amicus Brief at 8.

  They rely on Fyock v. City of Sunnyvale which applied intermediate scrutiny in

  evaluating a ban on magazines which hold over ten rounds:

        Indeed, Measure C does not affect the ability of law-abiding citizens to
        possess the "quintessential self-defense weapon"—the handgun. See
        Heller, 554 U.S. at 629. Rather, Measure C restricts possession of only
        a subset of magazines that are over a certain capacity. It does not restrict
        the possession of magazines in general such that it would render any
        lawfully possessed firearms inoperable, nor does it restrict the number
        of magazines that an individual may possess. To the extent that a
        lawfully possessed firearm could not function with a lower capacity
        magazine, Measure C contains an exception that would allow
        possession of a large-capacity magazine for use with that firearm.
        Sunnyvale, Cal. Muni. Code § 9.44.050(c)(8). For these reasons, there
        was no abuse of discretion in finding that the impact Measure C may

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         have on the core Second Amendment right is not severe and that
         intermediate scrutiny is warranted.

  Fyock v. City of Sunnyvale, 779 F.3d 991, 999, 2015 U.S. App. LEXIS 3471, *19.

         The Ninth Circuit, on abuse of discretion review, accepted the trial court’s

  application of intermediate scrutiny because magazines are merely a tool to use in

  handguns and are not an arm itself. This holding is not binding on trial courts.

  “Fyock's conclusion about the severity of Sunnyvale's large-capacity magazine ban

  was fact-bound. It did not announce as a matter of law that magazine capacity bans

  of any kind never impose a severe burden on Second Amendment rights.” Duncan

  v. Becerra, 366 F. Supp. 3d 1131, 1158, 2019 U.S. Dist. LEXIS 54597, *54-55. It

  certainly is not binding on this Court when reviewing a ban on an actual protected

  arm.

         Heller defined “arms” as “‘weapons of offence, or armour of defence.’” 554

  U.S. at 581 (quoting Samuel Johnson, 1 Dictionary of the English Language 106 (4th

  ed.) (reprinted 1978)). “Thus, the most natural reading of ‘keep Arms’ in the Second

  Amendment is to ‘have weapons.’” Id. at 582. Large-capacity magazines are a piece

  of equipment used to make weapons more effective; they are not themselves

  weapons and they are not an integral part of any weapon, since smaller magazines




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  can also be used in their stead. All otherwise legal varieties of handguns and long

  guns remain available.15

          Thus, the Ninth Circuit accepted the Fyock trial court’s application of

  intermediate scrutiny because a ban on magazines over ten rounds does not affect

  the ability of law-abiding citizens to possess protected arms. Unlike the magazine

  ban at issue in Fyock, the challenged law in this matter bans possession of a protected

  type of arm (butterfly knives). And knives, as shown above, are as quintessential to

  self-defense as handguns. Thus, Circuit precedent supports applying a higher level

  of scrutiny than the one used in Fyock. However, as shown below, even if this Court

  does apply intermediate scrutiny, Hawaii’s butterfly knife ban is unconstitutional.

       h. This Court Should Rely on State v. Delgado

          The Oregon Supreme Court’s right to arms analysis under its state constitution

  “mirrors the model employed by the United States Supreme Court in District of

  Columbia v. Heller, supra, 554 U.S. 624-25”. See State v. DeCiccio, 315 Conn. 79,

  117, 105 A.3d 165, 191, 2014 Conn. LEXIS 447, *63. And thus, it is authority this

  Court should rely on. In State v. Delgado, the Oregon Supreme Court found

  Oregon’s ban on switchblades to be unconstitutional under its state constitution.



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    In fact, the record in Fyock demonstrated that the average defensive shooting only
  involves 2.1. rounds. See 4:13cv5807, Fyock et al., v. The City Of Sunnyvale et al.
  Sunnyvale's Opposition to Plaintiff's Motion for Preliminary Injunction Docket
  Number [36] at *14 fn. 10.
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        The Court first engaged in a historical analysis similar to that employed in

  Heller finding that:

        In early colonial America the sword and dagger were the most
        commonly used edged weapons. During the American colonial era
        every colonist had a knife. As long as a man was required to defend his
        life, to obtain or produce his own food or to fashion articles from raw
        materials, a knife was a constant necessity. Around 1650 one form of
        dagger popular in the colonies was the "plug bayonet," so called
        because it fit into the muzzle of a musket. It was used both as a dagger
        or as a general utility knife. Other knives became popular during the
        17th and 18th centuries. The American frontiersman used a large knife
        to ward off danger from Indian attacks and to hunt and trap; along with
        that he carried a smaller knife, the blade being three to four inches long,
        in his rifle bag.
  State v. Delgado, 298 Ore. 395, 401-403, 692 P.2d 610, 613-614, 1984 Ore. LEXIS

  1934, *10-13, 47 A.L.R.4th 643. It then found that a switchblade is constitutionally

  protected based on these historical antecedents:

        We are unconvinced by the state's argument that the switch-blade is so
        "substantially different from its historical antecedent" (the jackknife)
        that it could not have been within the contemplation of the
        constitutional drafters. They must have been aware that technological
        changes were occurring in weaponry as in tools generally. The format
        and efficiency of weaponry was proceeding apace. This was the period
        of development of the Gatling gun, breach loading rifles, metallic
        cartridges and repeating rifles. The addition of a spring to open the
        blade of a jackknife is hardly a more astonishing innovation than those
        just mentioned.
  State v. Delgado, 298 Ore. 395, 403, 692 P.2d 610, 614, 1984 Ore. LEXIS 1934,

  *13-14, 47 A.L.R.4th 643.

        A butterfly knife, while Filipino in origin and thus different than colonial

  analogues, still falls within this tradition and should be found protected “especially

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  here in Hawaii where the oriental culture and heritage play a very important role in

  society.” See State v. Muliufi 643 P.2d 546, 548 (1982).

       i. This Court Should Rely on State v. Herrmann and not State v. Murillo

          For the same reasons that the Wisconsin Court distinguished Murrilo, so

  should this Court.

          Murillo is factually distinguishable because, unlike Herrmann, the
          defendant in Murillo did not possess a switchblade in his own home for
          his protection. Instead, he was convicted of possessing a switchblade
          after using it in a fight at a Wal-Mart.                         Id. at
          286. Accordingly, Murillo did not implicate the core Second
          Amendment right to keep and bear arms in one's own home for self-
          defense.
  State v. Herrmann, 2015 WI App 97, P17, 366 Wis. 2d 312, 324, 873 N.W.2d 257,

  263, 2015 Wisc. App. LEXIS 832, *13.

          Here, Plaintiffs challenge Hawaii’s ban on butterfly knives inside the home.

  Further, Plaintiffs have made efforts to conduct discovery and submit expert

  testimony16 and other evidence unlike the litigant in Murillo.

          We also observe that the defendant in Murillo did not raise his Second
          Amendment challenge in the trial court and therefore deprived the State
          of the opportunity to make an evidentiary showing that the challenged
          statute withstood intermediate scrutiny. Id. at 286, 289 n.2. The Murillo
          court nevertheless chose to address the defendant's argument,
          reasoning, “Other cases have addressed the issue, and, rather than
          remanding this case to the district court, we can address Defendant's
          arguments based on case law.” Id. at 289 n.2. Thus, although the
          Murillo court purported to apply intermediate scrutiny, it did not
          actually hold the government to its burden of proof, choosing instead
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    The Defendants have not submitted any expert report or testimony in this matter
  and their time to designate experts has lapsed.
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        to rely on unsupported statements from pre-Heller case law about the
        dangerousness of switchblades and their frequent use by criminals. See
        id. at 288-89. Unlike the Murillo court, we do not find these
        unsupported statements persuasive.
  State v. Herrmann, 2015 WI App 97, P19, 366 Wis. 2d 312, 326, 873 N.W.2d 257,

  263, 2015 Wisc. App. LEXIS 832, *14-15. For the reasons argued in Plaintiffs’

  moving papers and above, this Court should disregard Murillo as inapplicable to

  Plaintiffs’ challenge.

     j. HRS 134-53 Cannot Survive Intermediate Scrutiny

        Even assuming intermediate scrutiny applies, the State’s ban fails. The State

  opines that its interest in banning butterfly knives is to promote public safety. Even

  under intermediate scrutiny, a challenged restriction cannot burden substantially

  more constitutionally protected conduct than necessary to achieve the State’s

  interest. McCullen v. Coakley, 134 S. Ct. 2518, 2540 (2014). And under intermediate

  scrutiny the State is not allowed to rely on “‘shoddy data or reasoning.’ Defendants

  must show ‘reasonable inferences based on substantial evidence’ that the statutes are

  substantially related to the governmental interest.’” New York State Rifle & Pistol

  Ass'n, Inc. v. Cuomo, 804 F.3d 242, 264 (2d Cir. 2015), cert. denied sub nom., Shew

  v. Malloy, 136 S. Ct. 2486, 195 L. Ed. 2d 822 (2016) (citations omitted) (emphasis

  in original) (striking down New York State's 7 round magazine limit).

        Here, the State does not present any evidence that its ban on butterfly knives

  promotes public safety whatsoever. Even assuming a ban on carrying them outside

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  the home is justified due to their concealability, it does not follow that it promotes

  public safety to ban them in the home. Nor has it shown that its ban is “narrowly

  tailored to further that substantial government interest.” Duncan v. Becerra, 366 F.

  Supp. 3d 1131, 1170, 2019 U.S. Dist. LEXIS 54597, *82. “As the Supreme Court

  succinctly noted in a commercial speech case, narrow tailoring requires ‘a fit

  between the legislature's ends and the means chosen to accomplish those ends.’”

  Minority Television Project, Inc. v. F.C.C., 736 F.3d 1192, 1204 (9th Cir. 2013)

  (quoting Bd. of Tr. of the State Univ. of New York v. Fox, 492 U.S. 469, 480, 109 S.

  Ct. 3028, 106 L. Ed. 2d 388 (1989)).” See Duncan v. Becerra, 366 F. Supp. 3d 1131,

  1170, 2019 U.S. Dist. LEXIS 54597, *82.

        Rather, the State has misapplied that law by arguing it can demonstrate

  tailoring by showing that it only bans a certain set of knives. This contradicts

  Heller’s reasoning. “There, the Court unequivocally rebuffed the argument ‘that it

  is permissible to ban the possession of handguns so long as the possession of other

  firearms (i.e., long guns) is allowed.’” 554 U.S. at 629. Worman v. Healey, 922 F.3d

  26, 36, 2019 U.S. App. LEXIS 12588, *18. Here, the State bans butterfly knives in

  the home when Heller requires it to allow handgun possession. It does so because

  it claims that butterfly knives are easier to conceal. Even if that could justify a ban

  outside the home, what possible rationale could that be to ban constitutionally

  protected arms inside the home based on their concealability? And accepting the


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  State’s position, it could ban every single pocketknife and still survive constitutional

  muster. That is a nonsensical position when Heller precludes a prohibition on

  handguns. Especially when a host of other knives are legal, deadlier and commonly

  possessed in most people’s kitchens. E.g. a butcher knife attack has a 13.3%

  mortality rate compared to a switchblade (which the State appears to argue is roughly

  as deadly as a butterfly knife) attack which has 5.9 % mortality rate. See Harwell

  Wilson & Roger Sherman, Civilian Penetrating Wounds to the Abdomen, 153

  ANNALS OF SURGERY 639, 640 (1961) at *4.

        As other equally concealable knives such as pocketknives and deadlier knives

  such as butcher knives are legal, the butterfly knife ban is too underinclusive to

  survive intermediate scrutiny. In constitutional law, underinclusivity follows

  necessarily from the evaluation of a fit between means and ends. see Lorillard

  Tobacco Co. v. Reilly, 533 U.S. 525, 556 (2001); 556; Fla. Bar v. Went For It, Inc.,

  515 U.S. 618, 632 (1995); Bd. of Trs. of State Univ. of N.Y. v. Fox, 492 U.S. 469,

  480 (1989)).

        The assessment of fit looks to the relation between the class who comes within

  the scope of the regulation’s stated objective, and the class actually affected by the

  regulation. See, e.g., Joseph Tussman & Jacobus tenBroek, The Equal Protection of

  the Laws, 37 CALIF. Under this standard, what matters is not whether a regulation

  is specifically overinclusive, but rather by how much it is either over or


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  underinclusive. See, e.g., City of Cincinnati v. Discovery Network, Inc., 507 U.S.

  410, 428 (1993) (holding a city ordinance intended to advance safety and aesthetic

  interests unconstitutional because it unjustifiably affected only a small fraction of

  operating newsracks, thus constituting an unreasonable fit between ends and means).

  See also Parents for Privacy v. Barr, 2020 U.S. App. LEXIS 4503, *53

  (“Underinclusiveness is determined with respect to the burdens on religious and non-

  religious conduct and the interests sought to be advanced by the policy”).

        The Court first developed this test in the equal-protection context, and

  subsequently imported it into First Amendment doctrine in the early 1970s. See, e.g.,

  Police Dep’t of Chicago v. Mosley, 408 U.S. 92 (1972); Kenneth L. Karst, Equality

  as a Central Principle in the First Amendment, 43 U. CHI. L. REV. 20 (1975). The

  Ninth Circuit uses First Amendment principles to evaluate Second Amendment

  claims. “In analyzing the second prong of the second step, the extent to which a

  challenged prohibition burdens the Second Amendment right, we are likewise

  guided by First Amendment principles.” Jackson v. City & County of San Francisco,

  746 F.3d 953, 961, 2014 U.S. App. LEXIS 5498, *13, 2014 WL 1193434. Thus,

  under intermediate scrutiny, Plaintiffs’ challenge calls for an assessment of “the fit

  between the challenged regulation and the asserted objective,” Police Dep’t of

  Chicago v. Mosley, 408 U.S. 92, 98 (1972).




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        Here, the State’s purported interest is to ban concealable knives that can be

  quickly opened to promote public safety. However, common folding knives are just

  as concealable and open faster than butterfly knives.17 Post-Heller, the State cannot

  ban all self-defense knives as it implicitly concedes in its Motion for Summary

  Judgment. “HRS § 134-53 bans only butterfly knives... [i]t is not a complete ban on

  all knives...[t]herefore the regulation is tailored to the state's objective.” See

  Defendants’ MSJ at 13.

        Singling out a knife while other equally or more dangerous knives remain

  legal is not sufficiently tailored to the State’s purported interest. Additionally, it is

  not a “reasonable fit because, among other things, it prohibits law-abiding…weapon

  permit holders and law-abiding U.S Armed Forces veterans from acquiring”

  butterfly knives. See Duncan v. Becerra, 366 F. Supp. 3d 1131, 1185, 2019 U.S.

  Dist. LEXIS 54597, *122. The State has failed to demonstrate its ban on butterfly

  knives actually promotes public safety, and even if it had, it has not shown that the

  ban is properly tailored. For the above reasons, Hawaii’s ban on butterfly knives

  fails intermediate scrutiny.




   See Burton Richardson’s Declaration and video provided in Plaintiffs’ Motion for
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  Summary Judgment.
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                                  III.   Conclusion

        As there are no genuine issues of material fact, this Court should deny the

  Defendants’ Motion for Summary Judgement and grant Plaintiffs’ Motion for

  Summary Judgment.

              Respectfully submitted, this the 30th day of March, 2020.

        /s/ Alan Beck
        Alan Alexander Beck

        /s/ Stephen D. Stamboulieh
        Stephen D. Stamboulieh
        Stamboulieh Law, PLLC
        *Admitted Pro Hac Vice




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